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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

LUIS LUCAR,                                  )
                                             )      Case No. 4:21-cv-3142
                       Plaintiff,            )
                                             )
v.                                           )           JOINT STIPULATION FOR
                                             )         DISMISSAL WITH PREJUDICE
PILLEN FAMILY FARMS, INC.                    )
                                             )
                       Defendant.            )

         The parties hereby stipulate and jointly agree that all claims in the above-captioned

matter should be dismissed, with prejudice, each party to pay its own attorneys’ fees and

costs.

         Dated: March 02, 2022

                                            PILLEN FAMILY FARMS, INC., Defendant

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                                            By:    /s/ Tara Tesmer Paulson
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                                            LUIS LUCAR, Plaintiff

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                                            By:    /s/Kathleen M. Neary
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